                                                                  Exhibit 18




Case 2:24-cv-00704-BHL Filed 06/05/24 Page 1 of 10 Document 3-9
Case 2:24-cv-00704-BHL Filed 06/05/24 Page 2 of 10 Document 3-9
Case 2:24-cv-00704-BHL Filed 06/05/24 Page 3 of 10 Document 3-9
Case 2:24-cv-00704-BHL Filed 06/05/24 Page 4 of 10 Document 3-9
Case 2:24-cv-00704-BHL Filed 06/05/24 Page 5 of 10 Document 3-9
Case 2:24-cv-00704-BHL Filed 06/05/24 Page 6 of 10 Document 3-9
Case 2:24-cv-00704-BHL Filed 06/05/24 Page 7 of 10 Document 3-9
Case 2:24-cv-00704-BHL Filed 06/05/24 Page 8 of 10 Document 3-9
Case 2:24-cv-00704-BHL Filed 06/05/24 Page 9 of 10 Document 3-9
Case 2:24-cv-00704-BHL Filed 06/05/24 Page 10 of 10 Document 3-9
